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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


SIMEON NILES,                                               C.A. No. 1:13-cv-13086-JGD

                Plaintiff

v.

TOWN OF WAKEFIELD, STEVEN SKORY,
in his individual capacity, KENNETH SILVA, in
his individual capacity, JOHN WHALEY, in his
individual capacity and SCOTT REBOULET, in
his individual capacity,

                Defendants.

                    AFFIDAVIT OF CHANTELLE M. D’ANGELO, ESQ.

        I, Chantelle M. D’Angelo, do hereby swear and depose the following:

        1.      I am counsel for the Defendants, Town of Wakefield, Steven Skory, Kenneth

Silva, John Whaley, and Scott Reboulet.

        2.      Attached as Exhibits to the Defendants’ Motion to Compel Plaintiff’s Production

of Medical Records from the Lahey Clinic are copies of correspondences in the form of emails

and letters, an excerpt of the plaintiff’s deposition transcript, and plaintiff’s responses to

defendants’ first set of requests for production of documents.

        3.      As of the filing of this motion, the defendants are not in possession of the

plaintiff’s medical records from the Lahey Clinic.



        SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 15th DAY OF

JULY 2015.



                                                /s/Chantelle M. D’Angelo

                                                Chantelle D'Angelo (BBO #688165)
